






						NO. 12-07-00342-CR



IN THE COURT OF APPEALS
	


TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS


SHANNON WAYNE SMITHERS,§
		APPEAL FROM THE 173RD

APPELLANT


V.§
		JUDICIAL DISTRICT COURT OF


THE STATE OF TEXAS,

APPELLEE§
		HENDERSON COUNTY, TEXAS

                                                                                                                                                            

MEMORANDUM OPINION


PER CURIAM


	Shannon Wayne Smithers appeals his conviction for burglary of a habitation.  Appellant's
counsel filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L.
Ed. 2d 493 (1967), and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  We affirm.


Background

	Appellant pleaded guilty to burglary of a habitation.  Appellant also confessed to three
additional burglary of a habitation offenses, moving the trial court to consider them as part of his
punishment. (1)  The trial court found Appellant guilty of the offense and assessed punishment at ten
years of imprisonment.  This appeal followed.




Analysis Pursuant to Anders v. California	Appellant's counsel filed a brief in compliance with Anders v. California and Gainous v.
State.  The brief shows that Appellant's counsel diligently reviewed the appellate record and
considered the applicable law and is of the opinion that the record reflects no reversible error and
that there is no error upon which an appeal can be predicated.  In compliance with Anders, Gainous,
and High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978), Appellant's counsel's brief presents a
chronological summation of the procedural history of the case and further states that Appellant's
counsel is unable to raise any arguable issues for appeal. (2)  We have likewise examined the record
for reversible error and have found none. See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim.
App. 2005).


Conclusion

	As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant's
counsel has moved for leave to withdraw in this case.  We carried the motion for consideration with
the merits.  Having done so and finding no reversible error, Appellant's counsel's motion for leave
to withdraw is hereby granted and the trial court's judgment is affirmed.

Opinion delivered November 26, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.








(DO NOT PUBLISH)
1.  At the time Appellant pleaded guilty, he did so as part of a plea bargain with the State.  As part of the plea
bargain, the State agreed to recommend that Appellant's punishment be assessed at four years of imprisonment. 
However, at sentencing, Appellant chose to abandon the plea bargain agreement and seek that the trial court assess
punishment without reference to that bargain.  
2.  Counsel for Appellant certified in his brief that he provided Appellant with a copy of the brief.  Appellant
was given time to file his own brief in this cause. The time for filing such a brief has expired and we have received
no pro se brief.


